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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

__________________________________________
                                          :
WITOLD BAGINSKI                           :                  CIV. A. 2:17-cv-05320-JLL-LAD
            Plaintiff,                    :
v.                                        :
                                          :
                                          :                  AMENDED JOINT DISCOVERY
BOROUGH OF WALLINGTON, et al.             :                  PLAN
                    Defendants.           :
__________________________________________:


  1.      Set forth a factual description of the case. Include the causes of action and affirmative
          defenses asserted.

          Plaintiff’s Allegations and Causes of Action

       This is an action pursuant to i) the New Jersey Conscientious Employee Protection Act

(“CEPA”), N.J.S.A. 34:19-1 et seq., to remedy unlawful retaliation; ii) the Civil Rights Act, 42

U.S.C. Sections 1981 et seq., 1983 et seq., and 1985 et seq.; iii) the New Jersey Civil Rights Act,

NJ.S.A. 10:6-1, et seq.; and iv) the New Jersey Law Against Discrimination.

          Defendants’ Affirmative Defenses

          Defendant Borough of Wallington is a municipality of the State of New Jersey and a

public entity pursuant to N.J.S.A. 59:1-1 et. seq. Defendants Eugeniusz Rachelski, Khaldoun

Androwis, Melissa Dabal, and Bryan Olkowski were at relevant times herein duly elected council

members in the Borough of Wallington acting at all relevant times herein in accordance with their

statutory duties as council members. Defendant Victor Polce was at all relevant times the

Administrator for the Borough of Wallington. Defendants deny all material liability allegations

while asserting various affirmative defenses. Defendants assert that all employment decisions

regarding Plaintiff were made in good faith, based on proper, legitimate, constitutional, non-

discriminatory reasons for the betterment of the Borough of Wallington. The Borough of Wallington

Defendants assert that they are entitled to Qualified Immunity and Absolute Immunity for all

employment decisions as to Plaintiff and his pleaded causes of action.
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2.         Have settlement discussions taken place? Yes XXX             No

           If so, when? Two In-Court Settlement Conferences were held in 2018.

           (a)   What was plaintiff’s last demand?

                   (1)   Monetary demand: $
                   (2)   Non-monetary demand:

           (b)    What was defendant’s last offer?

                   (1)    Monetary offer: $
                   (2)    Non-monetary offer:

3.         The parties [have - have not XX             ] exchanged the information required by
           Fed. R. Civ. P. 26(a)(1) as to the new causes of action alleged in the Amended Complaint.
           If not, state the reason therefor.

           Parties will serve Rule 26 disclosures by April 15, 2019.

4.         Describe any discovery conducted other than the above disclosures.

           The parties have exchanged written discovery on the initial claims. The parties need to
           exchange written discovery relating to the amended claims and parties.

5.         Generally, dispositive Motions cannot be filed until the completion of discovery.
           Describe any Motions any party may seek to make prior to the completion of
           discovery. Include any jurisdictional Motions and Motions to Amend.

           A motion to amend the pleadings has previously been granted.

6.         The parties proposed the following:

     (a)         Discovery is needed on the following subjects: liability, damages

     (b)         Should discovery be conducted in phases? If so, explain: no.

     (c)         Number of Interrogatories by each party to each other party: 25

     (d)         Number of Depositions to be taken by each party: 10

     (e)         The parties shall propound discovery on or before April 15, 2019.

     (f)         The parties shall provide responses to discovery requests on or before June 1, 2019.

     (g)         Plaintiff’s expert report due on November 1, 2019.

     (f)         Defendant’s expert report due on December 1, 2019.

     (g)         Dispositive motions to be served within 45 days of completion of discovery.
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      (h)        Factual discovery to be completed by September 15, 2019.

      (i)        Expert discovery to be completed by January 1, 2020.

      (j)        Set forth any special discovery mechanism or procedure requested, including
                 data preservation orders or protective orders:

      (k)        A pretrial conference may take place on                               .

      (l) Trial by jury or non-jury Trial? Jury

      (m)        Trial date:                                .

7.          Do you anticipate any discovery problem(s)? Yes                    No xx
            If so, explain.

8.          Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
            problems with out-of state witnesses or documents, etc.)? Yes           No xx____

            Discovery Confidentiality Order

9.          State whether this case is appropriate for voluntary arbitration (pursuant to L. Civ. R.
            201.1 or otherwise), mediation (pursuant to L. Civ. R. 301.1 or otherwise),
            appointment of a special master or other special procedure. If not, explain why and
            state whether any such procedure may be appropriate at a later time (i.e., after
            exchange of pretrial disclosures, after completion of depositions, after disposition of
            dispositive motions, etc.).

            Not at this time. Mediation may be appropriate after completion of discovery.

10.         Is this case appropriate for bifurcation? Yes                No XX

11.         We [do         do not XX          ] consent to the trial being conducted by a Magistrate
            Judge.
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Dated: April 1, 2019
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